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 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                               )
     UNITED STATES OF AMERICA,                   )   Case No.: 2:11-cr-00296-JAM-1
 9                                               )
                   Plaintiff,                    )   STIPULATION AND ORDER TO
10                                               )   TERMINATE DEFENDANT’S PRE-
            vs.                                  )   TRIAL SERVICES SUPERVISION
11                                               )
     MOCTEZUMA TOVAR, et al.,                    )
12                                               )
                   Defendants.                   )
13                                               )
                                                 )
14                                               )
                                                 )
15                                               )
16
17          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

18   supervision of Moctezuma Tovar by Pre-Trial Services be terminated. Mr. Tovar has

19   been under supervision for approximately seven years; he has made all of his required

20   court appearances; he has no prior failures to appear for court; and no violations have

21   been filed. Pre-Trial Services has also been informed of the request and joins in the

22   termination of Mr. Tovar’s supervision.

23
24   IT IS SO STIPULATED.

25
     DATED: March 14, 2018                            By:    /s/ Thomas A. Johnson
26                                                           THOMAS A. JOHNSON
                                                             Attorney for Moctezuma Tovar
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     DATED: March 14, 2018                          McGREGOR W. SCOTT
 1                                                  United States Attorney
 2                                            By:   /s/ Brian Fogerty
                                                    BRIAN FOGERTY
 3                                                  Assistant United States Attorney
 4
 5
 6                                     ORDER
 7         IT IS SO ORDERED.
 8
     Dated: March 15, 2018
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